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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                   Case No. 1:20-CR-00080
       v.
                                                   Honorable Gary S. Feinerman.
 CARTER BRETT



                              JOINT STATUS REPORT

      On June 10, 2021, the Court directed the parties to confer and report on two

issues: (1) whether a sentencing hearing may now be scheduled in this matter; and

(2) whether the September 16, 2021 (later stricken and re-set for September 15,

2021), status hearing should be rescheduled. ECF 35 and 36. The United States and

counsel for the defendant conferred and jointly report as follows.

      First, in the view of the parties, it remains too soon to schedule the defendant’s

sentencing, due to the on-going nature of the government’s investigation, and the

need for the defendant’s on-going cooperation to be fully complete in order to be

properly evaluated prior to sentencing. Therefore, the parties request that the Court

continue to hold in abeyance the sentencing hearing and all sentencing-related

proceedings in this matter.

      Second, in light of the government’s on-going investigation, as well as the on-

going pandemic, the parties request that the Court reschedule the September 15,

2021, status hearing in this matter. The parties request that the Court (a) set this

matter for a status conference on December 14, 2021, at 10:15 a.m.; (b) waive the

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defendant’s presence pursuant to Federal Rule of Criminal Procedure 43(b)(3); and

(c) conduct this hearing by videoconference or teleconference in order to protect the

health and safety of the defendant, defense counsel, prosecutors, court staff, and the

public by reducing the number of in-person hearings to the greatest extent possible.



                                               Respectfully submitted,



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